Page not found | Supreme Court
        
            Skip to main content
        
                

        
        
          
      
       
      Search form
    
  Search 
 


 
  
          

        
            Supreme Court Home&nbsp;&nbsp;|
                
                State of Idaho&nbsp;&nbsp;|
                
                Search&nbsp;&nbsp;
            
    
   




    
    
        
            

                                    
                        
                    
                

                                    

                    
                
                                
        
    
    


    

    
          
      
   Main menu(Site Main Menu)    About UsSupreme Court JusticesChief Justice Roger S. BurdickJustice Daniel T. EismannJustice Jim JonesJustice Warren E. JonesJustice Joel D. HortonCourt of Appeals JudgesChief Judge Sergio A. GutierrezJudge Karen L. LansingJudge David W. GrattonJudge John M. MelansonMission &amp; GoalsHistory &amp; ProceduresContact Us/SuggestionsSupreme Court AppealsPro Se Appellate InformationAppellate HandbookDeadlines, Fees, CkecklistsFAQsGlossarySupreme Court CalendarCourt of Appeals CalendarOpinionsSupreme Court Civil OpinionsSupreme Court Criminal OpinionsCourt of Appeals Civil OpinionsCourt of Appeals Criminal OpinionsCOA Unpublished OpinionsLinks Of InterestFilings &amp; Transcript ReportsCourt RulesCourt Rules, Guidelines, FeesIdaho Appellate Rules (I.A.R.)Idaho Court Administrative Rules (I.C.A.R.)Idaho Criminal Rules (I.C.R.)Idaho Infraction Rules (I.I.R.)Idaho Juvenile Rules (I.J.R.)Idaho Misd. Criminal Rules (I.M.C.R.)Idaho Rules of Civil Procedure (I.R.C.P.)Idaho Rules of Evidence (I.R.E.)Idaho Rules of Family Law Procedure (I.R.F.L.P.) *Fourth District Pilot ProjectOrders &amp; AmendmentsRules for Public CommentForms &amp; ApplicationsCourt Services Child ProtectionCourt AssistanceCourt InterpretersDomestic Violence CourtsFamily Court ServicesGuardian Ad Litem/CASAGuardianship / ConservatorshipJuvenile JusticeProblem Solving CourtsTribal State Court ForumData RepositoryAdministrative &amp; LegislativeAdmin Reports &amp; FormsAdmin OrdersAnnual Reports - JudiciaryAnnual Reports - Court ServicesCalendarCurrent Legislative SessionJudicial Directory (pdf)Press ReleasesJudicial RostersCommitteesAppellate Settlement Conf JudgesCapital Defense CounselChild Custody MediatorCivil Case MediatorCriminal Case MediatorsDomestic Assault EvaluatorsDV Court CoordinatorsParenting CoordinatorsPrivate Civil Litigation Evaluators &amp; Sm. Lawsuit Resolution RosterScanning the RecordSenior Judge RosterVexatious LitigantsJury InformationCivil Jury InstructionsCriminal Jury InstructionsDeath Penalty InstructionsPamphlets &amp; GuidesResources &amp; MediaLinks, Publications &amp; VideosMedia GuideLocate a CourtCounty Courthouse DirectoryFederal Courts &amp; ResourcesIdaho District CourtsIdaho State GovernmentCareersIdaho JudiciaryLaw ClerksCourt Record Search
 
  

        
    
    

	
	
            
          
      
       The requested page "/opinions/40120.pdf" could not be found.
 
  

        
        
    
        


        
                

        


        
        



        



         
                        

        



        

        

        


        

            
          
      
       
Members of the Idaho Supreme Court
Chief Justice Roger S. Burdick Justice Daniel T. Eismann Justice Jim Jones Justice Warren E. JonesJustice Joel D. Horton
Members of the Idaho Court of Appeals
Chief Judge Sergio A. Gutierrez 
Judge Karen L. Lansing
Judge David W. GrattonJudge John M. Melanson
&nbsp;
TERMS OF OFFICE
Promoting Openness In The Courts  Do you have suggestions about how we can better serve you? CLICK HERE

 
  

        
        
	
    
    
    



    
    
        
        Home |
            State of Idaho|
            Accessibility|
            Privacy &amp; Security |
            
            Website Development Boise Website Design.
        
    




            